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           EXHIBIT A
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                                                                                           Exhibit A

                                                                                     90 Day Disbursements
                                                                                 Bankruptcy Case No. 17-125S0




                                                Dank       Check      Clear
                    Debtor                    Account       Date       Date     Ck. No.                         Name                                    Memo                          Amount
Woodbridge Mortgage Investment Fund 3, LLC   1894942992   08/22/17   09/06/17   61591     MARK L CUTLER CHARITABLE REMAINDER TRUST   MTG3 MZ PINE CREST DR. CO • INT AUG          S      975,00
Woodbridge Mortgage Investment Fund 3, LLC   1894942992   09/07/17   09/27/17   62233     MARK L CUTLER CHARITABLE REMAINDER TRUST   MT63 MZ PINE CREST DR, CO - INT SEP 8 DAYS          260.00
Woodbridge Mortgage Investment Fund 3, LLC   1894942992   09/07/17   09/27/17   62232     MARK L CUTLER CHARITABLE REMAINDER TRUST   MTG3 MZ PINE CREST DR, CO • RETURN               180,000.00
                                                                                                                                                                                  $ 181,235.00
